       Case 2:13-cr-00267-TLN Document 37 Filed 09/16/14 Page 1 of 2


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    DOUGLAS J. BEEVERS, #288639
     Assistant Federal Defender
3    Designated Counsel for Service
     801 “I” Street, 3rd Floor
4    Sacramento, CA 95814
5    Attorney for Defendant
     FERLANDO CARTER
6
7
                              IN THE UNITED STATES DISTRICT COURT
8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,                    )   NO. 2:13-CR-00267 TLN
11                                                )
                           Plaintiff,             )   STIPULATION AND ORDER
12                                                )   TO CONTINUE STATUS CONFERENCE
            v.                                    )
13                                                )
     FERLANDO CARTER, et al.                      )
14                                                )   DATE: November 20, 2014
                           Defendants.            )   TIME: 9:30 a.m.
15                                                )   JUDGE: Hon. Troy L. Nunley
16
            IT IS HEREBY STIPULATED by and between the parties hereto through their
17
     respective counsel, JUSTIN LEE, Assistant United States Attorney, attorney for Plaintiff;
18
     DOUGLAS BEEVERS, attorney for defendant FERLANDO CARTER; and MICHAEL
19
     LAWLEY, attorney for co-defendant LUIS ANTHONY BUSTAMANTE that the status
20
     conference hearing date of September 18, 2014 be vacated, and the matter be set for status
21
     conference on November 20, 2014 at 9:30 a.m.
22
            The reason for this continuance is that defendant CARTER is still being evaluated by an
23
     expert to address his learning disability. Counsel is awaiting the report from the expert.
24
            Based upon the foregoing, the parties agree that the time under the Speedy Trial Act
25
     should be excluded from the date of signing of this order through and including November 20,
26
     2014 pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and Local
27
     Code T4 based upon continuity of counsel and defense preparation.
28

     !Unexpected   End
      U.S. v. Carter,    of Formula
                      et al.                          -1-
      Stipulation and Order
       Case 2:13-cr-00267-TLN Document 37 Filed 09/16/14 Page 2 of 2


1    Dated: September 15, 2014                            Respectfully submitted,
2                                                         HEATHER E. WILLIAMS
                                                          Federal Defender
3
                                                          /s/ Douglas Beevers
4                                                         DOUGLAS BEEVERS
                                                          Assistant Federal Defender
5                                                         Attorney for Defendant
                                                          FERLANDO CARTER
6
     Dated: September 15, 2014                            /s/ Michael Lawley
7                                                         MICHAEL LAWLEY
                                                          Attorney for Defendant
8                                                         LUIS ANTHONY BUSTAMANTE
9
     Dated: September 15, 2014                            BENJAMIN B. WAGNER
10                                                        United States Attorney
11                                                        /s/ Justin Lee
                                                          JUSTIN LEE
12                                                        Assistant United States Attorney
                                                          Attorney for Plaintiff
13
14                                             ORDER
15          UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is ordered that the
16   September 18, 2014 status conference hearing be continued to November 20, 2014, at 9:30 a.m.
17   Based on the representation of defense counsel and good cause appearing there from, the Court
18   hereby finds that the failure to grant a continuance in this case would deny defense counsel
19   reasonable time necessary for effective preparation, taking into account the exercise of due
20   diligence. The Court finds that the ends of justice to be served by granting a continuance
21   outweigh the best interests of the public and the defendant in a speedy trial. It is ordered that
22   time up to and including the November 20, 2014 status conference shall be excluded from
23   computation of time within which the trial of this matter must be commenced under the Speedy
24   Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T-4, to allow
25   defense counsel reasonable time to prepare.
26   IT IS SO ORDERED.
27   Dated: September 15, 2014
28
                                                                Troy L. Nunley
     !Unexpected   End   of Formula                 -2-         United States District Judge
      U.S. v. Carter, et al.
      Stipulation and Order
